Case 3:14-cr-00002-DHB-BKE Document 467 Filed 03/19/18 Page 1 of 1


                                                               FILED
                                                      U.S. DISTRICT COURT
                                                 ' ttMjGUS
           IN THE UNITED STATES DISTRICT COURT FOR TiM     TA OIV.
                   SOUTHERN DISTRICT OF GEORGIA
                          DUBLIN DIVISION             20l8MftRl9

                                                      CLERK
UNITED STATES OF AMERICA                                  SO

      V.                                 OR 314-002-01


MICHAEL DERRICK COINS




                              ORDER




      Presently before the Court is a motion by Defendant

Derrick Coins to correct his Presentence Investigation Report

under Federal Rule of Criminal Procedure 36.         For the reasons

stated in the Government's Response in Opposition (doc. no.

466), Defendant's motion (doc. no. 465) is herebwDENIED.

      ORDER ENTERED at Augusta, Georgia, this //Pt> day of
March, 2018.




                                     UNITED STATESr DISTRICT JUDGE
